                           UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF VIRGINIA



         UNITED STATES OF AMERICA

                          v.                                    PLEA AGREEMENT HEARING

       HAZEL MARIE SANCHEZ CERDAS                                       Case No. 1:19CR65


HONORABLE LIAM O’GRADY presiding                                                Time Called: 11:06 a.m.
Proceeding Held: April 24, 2019                                              Time Concluded: 11:30 a.m.
Deputy Clerk: Amanda                                                          Court Reporter: N. Linnell

Appearances:

UNITED STATES OF AMERICA by:                           Maureen Cain
HAZEL SANCHEZ CERDAS in person and by:                 Rahul Sharma
INTERPRETER: None                                      ☐ Interpreter Sworn


☒ Defense counsel advises that defendant wishes to     ☒ Court advises defendant as to:
  enter a plea of guilty                                 ☒ Elements of the offense
☒ Plea Agreement filed                                   ☒ Maximum penalties
☒ Defendant has reviewed plea agreement with             ☐ Mandatory minimum sentence
  counsel and is satisfied w/representation              ☐ Forfeiture provision
☒ Defendant sworn                                        ☒ Sentencing guidelines
☐ Defendant advised that false statements made           ☒ Right to a jury trial
  under oath may result in prosecution for perjury       ☒ Waiver of appeal rights
☒ Court questions defendant as to background,          ☒ Government provides factual basis as set forth in
  education, medical history, drug usage                 plea agreement


☒ GUILTY plea entered to Count(s) One                  ☒ Court finds Defendant’s plea to be knowing and
  of the ☒ indictment, ☐ superseding indictment, ☐       voluntary and that a factual basis exists for the plea
  information                                            ☒ Defendant adjudged guilty
☒ PSR ordered
☒ Sentencing set for: August 2, 2019 @ 9:00 a.m.

 ☒ Detention continued; or ☐ Bond continued:        ☒ as previously set, or ☐ as modified:

   -   Government will file motion and order dismissing the remain counts of the Indictment.
   -   Defendant directed not to have contact with victims.
